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                 EXHIBIT A
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       (Slip Opinion)            Cite as: 598 U. S. ____ (2023)                                 1

                                             Per Curiam

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       SUPREME COURT OF THE UNITED STATES
                                             _________________

                                             No. 21–1397
                                             _________________


                                   IN RE GRAND JURY
        ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                   APPEALS FOR THE NINTH CIRCUIT
                                         [January 23, 2023]

         PER CURIAM.
         The writ of certiorari is dismissed as improvidently
       granted.
                                               It is so ordered.
